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                   Exhibit A
6/3/2019                                       https://anders.cnnlabs.io/projects/91/foias/378/print
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                                                        Tuesday, March 26, 2019

   Federal Bureau of Investigation
   Department of Justice
   David M. Hardy, Chief, Record/Information Dissemination Section, Records Management Division
   170 Marcel Drive
   Winchester, VA 22602-4843
   Phone: 540-868-4500
   Fax: 540-868-4997


   Re: Interview memos in special counsel's investigation

   This is a request for records pursuant to the Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”).



   REQUESTED RECORDS
   Records related to the O ce of Special Counsel’s investigation led by Robert Mueller into Russian
   interference in the 2016 election. Speciﬁcally, CNN seeks:

            FBI memoranda, such as 302s, from any and all of the interviews of the “approximately 500 witnesses”
            in the Mueller investigation. We also request any and all case ﬁles related to the approximately 500
            witnesses in the Mueller investigation.



   F O R M AT O F R E Q U E S T E D R E C O R D S
   If this request is denied in whole or in part, justify all deletions or withholdings by reference to speciﬁc
   exemptions in the FOIA.

   When possible, produce responsive records in their native, digital formats and include their original metadata,
   not as hard copy facsimiles or PDFs. For example, spreadsheets created in Microsoft Excel should be provided
   in an .xlsx format. Emails should be provided in common email ﬁle formats, such as .pst ﬁles for
   collections of emails or .eml ﬁles for individual emails.

   Data should be provided in a non-proprietary, machine-readable format, such as comma separated values
   ( .csv ). Included is a request for a record layout for the database and a data dictionary for any codes used in
   the database.



   L I M I TAT I O N S O N F E E S
   Because CNN is a representative of the news media and these records are sought as part of a newsgathering
   e ort, waive or reduce search and duplication fees, where applicable.



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   If you determine that fees will apply to this request and expect such fees to exceed $500 USD, provide an
   itemized invoice of fees.



   TIME LIMITS FOR RESPONSE
   If you expect this request to take longer than ten (10) working days to process, we expect an
   acknowledgment letter and tracking number within that time or no later than Tuesday, April 9, 2019.

   We expect a ﬁnal grant/denial determination on this request within twenty (20) working days after receipt by
   the appropriate o ce or no later than Tuesday, April 23, 2019.

   If you are unable to fulﬁll this request within that period, produce information as it becomes available (i.e. on a
   “rolling” basis) and an explanation for the circumstances requiring an extension of time and an estimated
   date on which you expect to ﬁnish processing this request.



   Please direct questions and responsive information concerning this request to katelyn.polantz@turner.com.



   Sincerely,

   Katelyn Polantz
   Senior writer
   Justice, crime & courts
   (202) 738–8185
   katelyn.polantz@turner.com

   820 First St. NE | Washington, D.C. 20002




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